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                                  UNITED STATES DISTRICT COURT
 1
                                            DISTRICT OF NEVADA
 2
                                                      ***
 3
      UNITED STATES OF AMERICA,                                   Case No. 2:20-cv-00367-APG-EJY
 4
                     Plaintiff,
 5                                                                              ORDER
            v.
 6
      M. DAVID FESKO,
 7
                     Defendant.
 8

 9          Before the Court is the United States of America’s Motion for Extension of Time to File

10   Motion to Substitute Representative as Defendant Pursuant to Fed. R. Civ. P. 25 (Sixth). ECF No.

11   17. Based on the representations in the Motion, the Court finds the United States establishes good reason

12   for the 120 day extension requested.

13          Accordingly,

14          IT IS HEREBY ORDERED that Plaintiff’s Motion for Extension of Time to File Motion to

15   Substitute Representative as Defendant Pursuant to Fed. R. Civ. P. 25 (Sixth) (ECF No. 17) is

16   GRANTED.

17          IT IS FURTHER ORDERED that Plaintiff shall have through and including February 11,

18   2022 to file a motion for substitute under Fed. R. Civ. P. 25(a)(1).

19          DATED THIS 12th day of October, 2021.

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                                                    ELAYNA J. YOUCHAH
22                                                  UNITED STATES MAGISTRATE JUDGE
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